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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION



  VINDOLOR, LLC,                        §
                                        §
             Plaintiff,                 §
                                        §
       v.                               §     C.A. No. 2:18-cv-00187-JRG (RSP)
                                        §
  HAT WORLD, INC. D/B/A LIDS,           §
                                        §
             Defendant.                 §


                     DEFENDANT HAT WORLD, INC.’S
         MOTION TO DISMISS UNDER FED. R. CIV. P. 12(b)(6) AND 12(b)(3)
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         Defendant Hat World, Inc. (“Hat World”) files this motion to dismiss under Federal

  Rules of Civil Procedure 12(b)(6) and 12(b)(3).

  I.     INTRODUCTION

         Plaintiff Vindolor, LLC (“Vindolor”) fails to plausibly state a claim for relief against Hat

  World for a simple reason: infringement of the patent-in-suit would require use of its customer’s

  phones by Hat World, something it does not do and never has.

         Vindolor alleges that Hat World infringed U.S. Patent No. 6,213,391 (“the ’391 Patent”)

  before it expired in September 2017. The Complaint identifies certain phones, configured with

  certain software and which are enabled to read fingerprints, as the “Accused Infringing Devices.”

  Vindolor does not allege that any Hat World hardware or software constituted any portion of the

  claimed system, much less that Hat World made or sold the accused phones. Instead, Vindolor

  implausibly alleges that Hat World directly infringed the ’391 Patent when its customers used

  their phones to make purchases.

         Neither fact nor law support Vindolor’s infringement claim here. The patent statute

  imposes direct infringement liability on anyone who “makes, uses, offers to sell, or sells any

  patented invention.” 35 U.S.C. § 271(a). Controlling Federal Circuit precedent confirms that Hat

  World itself did not “use” the purported invention because it neither “put the invention into

  service” nor benefited from “each and every element of the claimed system.” Centillion Data

  Sys., LLC v. Qwest Commc’ns Int’l, Inc., 631 F.3d 1279, 1284 (Fed. Cir. 2011); Intellectual

  Ventures I LLC v. Motorola Mobility LLC, 870 F.3d 1320, 1329 (Fed. Cir. 2017) (citing

  Centillion, 631 F.3d at 1284). Vindolor’s claim for direct infringement, which is based solely on

  Hat World’s customers’ use of their phones, should be dismissed.

         Assuming Vindolor’s claims based on Hat World’s customers’ use of their phones are

  dismissed, Vindolor’s only remaining allegations concern alleged pre-expiration testing by Hat


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  World of the accused “portable identification systems in the United States.” Dkt. No. 1, ¶ 67; see

  also id. ¶¶ 69-70. Any such remaining claim must be dismissed for lack of proper venue under

  Federal Rule of Civil Procedure 12(b)(3). Venue in a patent case is only appropriate “where the

  defendant resides, or where the defendant has committed acts of infringement and has a regular

  and established place of business.” 28 U.S.C. § 1400(b). Hat World neither “resides” in the

  Eastern District of Texas, nor did it “test” any accused phones within the district. Vindolor’s

  Complaint does not allege otherwise. Further still, damages, if any, for the alleged “testing”

  would be de minimis even in Vindolor’s best case scenario. For these additional reasons,

  Vindolor’s Complaint should be dismissed.

  II.    STATEMENT OF ISSUES

         1. Whether Vindolor’s claim of direct infringement should be dismissed under

             Rule 12(b)(6) for failing to state a claim upon which relief can be granted

             because Hat World does not “use” the claimed invention.

         2. Whether any remaining claim of infringement based on alleged “testing”

             should be dismissed under Rule 12(b)(3) for improper venue because Hat

             World does not reside and has not performed any testing in this District.

  III.   STATEMENT OF FACTS

         The Complaint alleges that Hat World infringed the ’391 Patent, which expired on

  September 10, 2017. Dkt. No. 1. The ’391 Patent is directed to a portable identification system

  based on a distinctive biometric characteristic, “e.g., fingerprint, DNA, palm print, retina scan,

  etc.” See Dkt. No. 1, Ex. A (’391 Patent), Abstract, 3:47-58. Claim 1 recites a “portable

  identification system” comprising five components, “[1] a storage medium . . . [2] one or more

  inputs; [3] one or more outputs; [4] a verifying means . . . and [5] a code generator.” Id. at

  claim 1.


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         Vindolor’s Complaint alleges that each of the five components of the claimed system are

  found in certain phones and mobile devices with particular software installed and configured by

  the user. The Complaint identifies the “Accused Infringing Devices” as:

         (a)     Window based phones and devices . . . installed with the Microsoft Wallet

                 App;

         (b)     Android based phones and mobile devices . . . installed with the Paypal

                 Mobile App, the Wells Fargo Wallet App, the Masterpass App, the Google

                 App, the Android Pay App, the Google Pay App, or the Samsung Pay app;

                 and

         (c)     Apple based phones and mobile devices . . . installed with the Paypal

                 Mobile App, the Apple Wallet, or the Apple Pay App.”

  Dkt. No. 1, ¶¶ 67-68. The Complaint does not allege that any Hat World hardware or software

  constitutes any part of the claimed invention. See id. at ¶¶ 77-112 (referring only to hardware or

  software provided by parties other than Hat World). Vindolor instead implausibly alleges that

  Hat World used the accused phones when its customers used their phones to make purchases at

  Hat World stores. Dkt. No. 10, ¶¶ 75-78; 124. In particular, Vindolor alleges that Hat World’s

  customers configured and enabled third-party payment software on their phones, such as Apple

  Pay or Google Pay. Id. at ¶¶ 85, 100 (alleging that the phone stores the customer’s “enrolled

  fingerprint data and payment information” and that the “user registers a credit card” associated

  with the phone). Vindolor also alleges that Hat World’s customers used that software in their

  phones to initiate and complete near-field communication (“NFC”) or contactless payments. Id.

  at ¶¶ 66, 91. Vindolor further alleges that customers who opt to use their phones to initiate

  payment place their phones near an NFC-enabled terminal and authenticate their identities using,

  for example, the phone’s fingerprint scanner to authorize the transaction. Id. at ¶ 91 (“NFC is an


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  industry-standard contactless technology designed to work only across short distances. If your

  iPhone is on and it detects an NFC field, it will present you with your default card.”); ¶ 95

  (“When a user makes a purchase with Apple Pay using the iPhone 6, the user can use Touch ID

  to authorize the purchase.”); ¶ 98 (“If there is a match . . . the Secure Enclave authorizes the

  Apple Pay transaction.”). The Complaint does not allege—and cannot plausibly allege—that Hat

  World required its customers to pay using the “Accused Infringing Devices” in lieu of cash or

  credit card options. See, e.g., id. at ¶¶ 64-72, 124.

          The ’391 Patent makes no reference to any type of NFC payment technology that forms

  the centerpiece of Vindolor’s infringement theory against Hat World. Likewise, the only two

  claims of the ’391 Patent do not recite any interaction with a point-of-sale terminal, let alone an

  NFC-enabled terminal. That is precisely why the Complaint only identifies certain mobile

  phones as the “Accused Infringing Devices,” rather than point-of-sale terminals themselves.

  IV.     LEGAL STANDARDS

          A.      Failure to State a Claim

          “[A] pleading must contain a ‘short and plain statement of the claim showing that the

  pleader is entitled to relief.’” Ashcroft v. Iqbal, 556 U.S. 662, 677-78 (2009) (quoting Fed. R.

  Civ. P. 8(a)(2)). That obligation “requires more than labels and conclusions, and a formulaic

  recitation of the elements of a cause of action will not do.” Bell Atl. Corp. v. Twombly, 550 U.S.

  544, 555 (2007) (citations omitted). “To survive a motion to dismiss, a complaint must contain

  sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”

  Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 570). “Threadbare recitals of the elements

  of a cause of action, supported by mere conclusory statements, do not suffice.” Id.

          B.      Improper Venue

          Under § 1400(b), venue in a patent case is only proper (1) “in the judicial district where


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  the defendant resides” or (2) in a district “where the defendant has committed acts of

  infringement and has a regular and established place of business.” If venue is improper, a

  defendant may move to dismiss the case. Fed. R. Civ. P. 12(b)(3); 28 U.S.C. § 1406(a). Under

  Rule 12(b)(3), courts may consider “evidence in the record beyond simply those facts alleged in

  the complaint and its proper attachments.” Ginter ex rel. Ballard v. Belcher, Prendergast &

  Laporte, 536 F.3d 439, 449 (5th Cir. 2008) (internal citations omitted); Snyders Heart Valve LLC

  v. St. Jude Med. S.C., Inc., No. 4:16-CV-00812, 2018 WL 3099709, at *3 (E.D. Tex. June 25,

  2018) (“. . . Defendants are permitted to submit any evidence available in support of a motion to

  dismiss for improper venue.”). “[U]pon motion by the Defendant challenging venue in a patent

  case, the Plaintiff bears the burden of establishing proper venue.” In re ZTE (USA) Inc., 890 F.3d

  1008, 1013 (Fed. Cir. 2018).

  V.     VINDOLOR CANNOT PLAUSIBLY ALLEGE DIRECT INFRINGEMENT.

         Vindolor’s Complaint against Hat World should be dismissed because it “fail[s] to state a

  claim upon which relief can be granted.” Fed. R. Civ. P. 12(b)(6). In particular, Vindolor’s

  Complaint does not, and cannot, state a claim for direct infringement by Hat World under 35

  U.S.C. § 271(a), which requires that Hat World “put the invention into service” and “benefit

  from each and every element of the claimed system.” Centillion, 631 F.3d at 1284; Intellectual

  Ventures I, 870 F.3d at 1329 (internal quotation marks omitted).

             A.     “Use” Requires Vindolor to Prove that Hat World Both “Put the
                    Invention into Service” and “Benefit[ted] from Each and Every Element
                    of the Claim[s].”

         Vindolor’s Complaint alleges that Hat World directly infringed the ’391 Patent when it

  allegedly “used” its customers’ phones when those customers used their phones to pay for




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  purchases at Hat World stores.1 Dkt. No. 1, ¶¶ 67-68. In the context of the system claimed by the

  ’391 Patent, there are at least two essential elements of such “use” that Vindolor cannot plausibly

  allege.

        First, Vindolor must establish that Hat World “put the invention [of the ’391 Patent] into

  service.” Centillion, 631 F.3d at 1284 (“[T]o ‘use’ a system for the purposes of infringement, a

  party must put the invention into service.”). To do so, Hat World must “control” the claimed

  system, such that it has “the ability to place the system as a whole into service” as well as “use

  each and every element of [the] claimed [system].” Id.

            Second, Vindolor must establish that Hat World “benefit[ted] from each and every

  element of the claimed system.” Intellectual Ventures I, 870 F.3d at 1329 (“[P]roof of an

  infringing ‘use’ of the claimed system under § 271(a) requires the patentee to demonstrate that

  the direct infringer obtained ‘benefit’ from each and every element of the claimed system.”)

  (citing Centillion, 631 F.3d at 1284). A general benefit from the “system as a whole” does not

  suffice. Intellectual Ventures I, 870 F.3d at 1329. Further, the alleged benefits “should be

  tangible, not speculative, and tethered to the claims.” Grecia v. McDonald’s Corp., No. 2017-

  1672, 2018 WL 1172580, *4 (Fed. Cir. Mar. 6, 2018).

            B.     Vindolor’s Complaint Does Not Plausibly Allege that Hat World “Put the
                   Claimed System into Service”

            Vindolor’s “use” claim against Hat World fails in the first instance because Vindolor

  cannot plausibly allege that Hat World “put the invention into service.” Centillion, 631 F.3d at



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    Vindolor alleges only direct infringement under 35 U.S.C. § 271(a); that is, that Hat World
  itself used the system claimed in the ’391 Patent. Because the ’391 Patent expired before
  Vindolor filed this lawsuit, Vindolor cannot allege indirect infringement under 35 U.S.C.
  § 271(b) or (c) because it requires knowledge of the asserted patent at the time of alleged
  infringement. See Global-Tech Appliances, Inc. v. SEB S.A., 563 U.S. 754, 763, 766 (2011).
  Vindolor does not allege pre-expiration knowledge of the ’391 Patent.


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  1284. Vindolor’s Complaint alleges that the “Accused Infringing Devices” are phones and

  mobile devices manufactured by third parties and configured by Hat World’s customers. Dkt.

  No. 10, ¶¶ 67-68, 85, 100. Any “use” of these phones is initiated by and controlled by customers

  who use their phones to pay for transactions, not by Hat World.

         Here, Hat World could not have “put the claimed system into service” because it did not

  “control” the claimed system such that it had “the ability to place the system as a whole into

  service.” Centillion, 631 F.3d at 1284. As pleaded by Vindolor, the ’391 Patent purports to claim

  phones and mobile devices provided by third parties and used by customers, rather than any

  hardware or software provided by Hat World. Dkt. No. 1, ¶¶ 67-68; 77-112. As the Complaint

  concedes, the customer—not Hat World—would make the decision to use a mobile phone to

  initiate payment authorization. See, e.g., id. ¶ 91. Moreover, to authorize the payment,

  customers—not Hat World—could authenticate their identities using their phone’s fingerprint

  scanner (if any). Id. at ¶¶ 95-99. Thus, the customers alone control the “Accused Infringing

  Device” (i.e., mobile phone used to initiate payment), not Hat World.2

         Furthermore, Hat World did not “use each and every . . . element of [the] claimed



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     Vindolor tries to backstop its allegations that Hat World “used” its customers’ phones by
  alleging that Hat World “directed and controlled” its customers’ use of their phones. Dkt. No. 1,
  ¶ 124. That theory fails just the same because the customer decides whether or not, and how, to
  configure payment software on its phone and then use the phone to make a purchase. Vindolor
  does not allege that Hat World ever required its customers to configure their phones to use
  biometric identification. Nor does Vindolor allege that Hat World ever required its customers to
  pay for purchases using the “Accused Infringing Devices” rather than alternative payment
  methods like cash or credit card. See Centillion, 631 F.3d at 1287 (“Following our vicarious
  liability precedents, we conclude, as a matter of law, that [defendant] is not vicariously
  liable for the actions of its customers. [Defendant] in no way directs its customers to perform
  nor do its customers act as its agents . . . . [I]t is entirely the decision of the customer whether to
  install and operate this software on its personal computer data processing means.”). Similarly,
  Vindolor cannot allege a “joint enterprise” between Hat World and its customers because there
  is no agreement, no common purpose, no community of pecuniary interest, and no equal right
  of control between them. See Akamai Techs. Inc. v. Limelight Networks, Inc., 797 F.3d 1020,
  1023 (Fed. Cir. 2015) (en banc).

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  [system] as is also required to “put the invention into service.” Centillion, 631 F.3d at 1284. The

  claims of the ’391 Patent require five elements: “[1] a storage medium . . . [2] one or more

  inputs; [3] one or more outputs; [4] a verifying means . . . and [5] a code generator.” The

  Complaint does not allege that any Hat World hardware or software constitute any of these claim

  elements. Dkt. No. 1, ¶¶ 77-112. Nor does the Complaint plausibly allege that Hat World uses

  each recited element of the claimed system. Rather, Vindolor alleges in vague and conclusory

  fashion that Hat World “benefited from the use” or “controlled the use” of the claimed elements.

  See, e.g., id. at ¶ 156 (“Defendant benefited from the use of the verifying means”), ¶ 163

  (“Defendant controlled the use of the verifying means”). Such boilerplate recitation is not

  sufficient to plausibly establish receipt of a “benefit” here, much less Hat World’s “use” of its

  customer’s phones. See Twombly, 550 U.S. at 555; Iqbal, 556 U.S. at 678.

         The Federal Circuit’s decision in Centillion is on point. There, the Federal Circuit

  considered whether defendant Qwest directly infringed by “using” an accused billing system

  with two components: a back-end processing system operated by Qwest, and a front-end client

  application installed on a user’s personal computer. Centillion, 631 F.3d at 1281. Although

  Qwest operated the back-end half of the claimed system, the Federal Circuit determined that

  Qwest did not “use” the claimed system because it “never put[] into service the personal

  computer data processing means,” i.e., the front-end application.3 Id. at 1286. The Federal Circuit

  explained that the customer, not Qwest, put the system as a whole into service, because “the

  customer controls the system,” and but for the customer’s actions, “the back-end processing

  would not be put into service.” Id. at 1285. Likewise here, Hat World’s customers controlled



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    Centillion actually presents a much closer case, because Qwest operated part of the claimed
  system and provided the front-end client application for the user to install. Here, by contrast,
  Vindolor does not allege that Hat World provides or operates any part of the claimed system (nor
  can it plausibly do so).

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  their accused mobile phones; but for their decision to use those phones to initiate payment and to

  authenticate their identities using their fingerprints (as opposed to paying with cash or credit

  card), the allegedly infringing system would not have been put into service. Accordingly,

  Vindolor has failed to plausibly allege that Hat World “put the claimed system into service.”

         C.      Vindolor’s Complaint Fails to Plausibly Allege that Hat World Benefitted
                 from Each and Every Element of the Claimed System.

         Hat World also did not “benefit from each and every element of the claimed system.”

  Intellectual Ventures I, 870 F.3d at 1329 (internal quotations omitted). Rather than pleading the

  requisite “tangible” benefits “tethered to the claims,” Vindolor offers no more than a “recitation

  of general benefits” which are insufficient to establish “use” here. Grecia, 2018 WL 1172580, at

  *4.

         The Complaint identifies a list of generalized “benefits” of the Accused Infringing

  Devices (that is, customers’ phones) as a whole, which it collectively calls “the Asserted

  Benefits.” Dkt. No. 1, ¶ 127. The Complaint then alleges that Hat World realized those same

  nonspecific “Asserted Benefits” for each claim element. See id. at ¶¶ 130, 138, 144, 152, 161,

  168. For example, while purporting to identify benefits relating to the second claim element

  (“one or more inputs”), the Complaint alleges that “[w]ith the use of one or more inputs in the

  Accused Infringing Devices, the Defendant was able to prevent a fraudulent sales transaction.”

  Id. at ¶ 143. Of course, the “one or more inputs” do not prevent fraudulent sales transactions (nor

  does the Complaint explain how they would) and do not confer any benefits to Hat World apart

  from those alleged with respect to the accused system as a whole.

        The Federal Circuit has rejected this precise approach and found it insufficient to sustain

  an allegation of “use.” In Grecia, the asserted patent claimed a system for authorizing access to

  digital content. 2018 WL 1172580, at *1. Plaintiff Grecia asserted that defendant McDonald’s

  Corp. would benefit from the claimed system by being able to associate subsequent customer

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  purchases and trigger indemnity obligations in fraudulent transactions. Id. at *4. But the Federal

  Circuit considered those “benefits” to be inadequate “recitation of general benefits,” equivalent

  to “stating that [the defendant] benefits from the claimed system as a whole.” Id. And with only

  general benefits asserted, the Federal Circuit held that the plaintiff “fail[ed] to plausibly allege

  that [the defendant] obtained a benefit from each and every claim element.” Id. at *3. The same

  facts present themselves here, and the same result should follow.

        Because Vindolor can neither prove that Hat World “put the claimed system into service”

  nor “benefitted from each and every element” thereof, Vindolor cannot prove direct infringement

  based on “use” of the purported invention claimed in the ’391 Patent. The Complaint should be

  dismissed.

  VI.    VINDOLOR CANNOT MAINTAIN THIS LAWSUIT BASED ON ALLEGED
         “TESTING” BY HAT WORLD

         To the extent Vindolor contends Hat World infringed one or both claims of the ’391

  Patent through “testing” that allegedly occurred prior to the patent’s expiration, any such

  remaining claims in Complaint must additionally be dismissed for improper venue pursuant to

  Fed. R. Civ. P. 12(b)(3).

         In patent cases, venue is governed exclusively by 28 U.S.C. § 1400(b). See TC Heartland

  v. Kraft Foods Group Brands LLC, 137 S. Ct. 1514, 1516 (2017). The statute provides that

  “[a]ny civil action for patent infringement may be brought in the judicial district where the

  defendant resides, or where the defendant has committed acts of infringement and has a regular

  and established place of business.” 28 U.S.C. § 1400(b).

         For purposes of the patent venue statute, a domestic corporation “resides” in the state

  where it is incorporated. TC Heartland, 137 S. Ct. at 1517, 1521; 28 U.S.C. § 1400(b). As

  Vindolor itself admits, Hat World is a Minnesota company and thus does not “reside” in Texas

  within the meaning of the statute. Dkt. No. 1, ¶ 2. Venue would be appropriate in the Eastern

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  District only if Hat World “committed acts of infringement” within the District. 28 U.S.C.

  § 1400(b). But Vindolor does not even allege that Hat World performed any “testing” of the

  Accused Infringing Devices in the Eastern District of Texas; indeed, it generally alleges that

  such testing occurred “in the United States.” Dkt. No. 1, ¶ 67. That allegation is insufficient to

  establish venue in the Eastern District of Texas as to any “testing”-based infringement theory.

  Moreover, Hat World has not tested any Accused Infringing Devices within the district, and any

  amendment of pleadings on this issue would be a futile effort. Hat World’s testing of payments

  using mobile devices at NFC-enabled point-of-sale terminals has been very limited and has only

  occurred in Indiana. Exhibit A (Thompson Decl.), ¶¶ 3-4. Hat World has never performed any

  testing of mobile payment functionality in Texas. Id. at ¶ 5.

          A finding of improper venue is appropriate where a court partially dismisses infringement

  allegations, leaving only allegations of infringement based on activities outside of the judicial

  district. For example, this Court recently dismissed allegations regarding “ten sales that took

  place in the Eastern District of Texas, leaving only allegations of infringement that took place

  outside this District.” Snyders Heart Valve LLC, No. 4:16-CV-00812, 2018 WL 3099709, at *6-7

  (E.D. Tex. June 25, 2018). The Court held that “there are no remaining activities or uses in this

  District, and, as such, there is no ‘act of infringement’ to make venue proper in the Eastern

  District of Texas.” Id. at *7. Here, the Court should similarly find improper venue based on any

  residual claims by Vindolor of infringement based on testing, which occurred only outside of this

  District.

          Dismissal of any testing-based infringement theory is further appropriate here to conserve

  this Court’s limited resources, because Vindolor could at best prove de minimis damages, if any

  at all, with respect to Hat World’s testing. Vindolor does not plead how Hat World profited (or

  could profit) in any way from very limited testing of a mobile phone to determine whether it


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  worked to initiate payment at an NFC-enabled point-of-sale terminal. In such a circumstance,

  Hat World could not have made any actual sale of goods, as it would merely have simulated a

  transaction to determine the functionality of a phone. Moreover, none of the alleged benefits of

  the invention identified by Vindolor in its Complaint relate to any testing by Hat World. Any

  attenuated claim for damages based on testing by Hat World “does not justify or support the use

  of this Court’s limited resources.” Babbage Holdings, LLC v. Activision Blizzard, Inc., 2:13-CV-

  750, 2014 WL 2115616, at *2 (E.D. Tex. May 15, 2014) (dismissing infringement claim under

  Fed. R. Civ. P. 12(b)(6) where, among other things, “damages, if any, [were] de minimis on their

  face”).

  VII.      CONCLUSION

            For the foregoing reasons, Hat World respectfully requests that the Court dismiss

  Vindolor’s Complaint under Federal Rules of Civil Procedure 12(b)(6) and 12(b)(3).


  June 28, 2018                               Respectfully submitted,

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                                CERTIFICATE OF SERVICE

         The undersigned hereby certifies that all counsel of record who are deemed to have

  consented to electronic service are being served with a copy of the foregoing on June 28, 2018,

  via the Court’s CM/ECF system.

                                              /s/ David A. Reed
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                                             Hat World, Inc.




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